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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  CENTRAL DIVISION
                                    AT LEXINGTON


   KENTUCKY WATERWAYS ALLIANCE and
   SIERRA CLUB,                                           No. 5:17-cv-00292-DCR

   Plaintiffs,                                            ELECTRONICALLY FILED
                             v.

   KENTUCKY UTILITIES COMPANY,

   Defendant.


                                  AMENDED AGREED ORDER

        Pursuant to LR 7.1(b), Plaintiffs Kentucky Waterways Alliance and Sierra Club request

 and Defendant Kentucky Utilities Company consents to a 30-day extension of time for Plaintiffs

 to respond to Kentucky Utilities Company’s Motion to Dismiss, which was filed with the Court

 on September 11, 2017:

        WHEREAS, Plaintiffs filed their Complaint in this action on July 12, 2017 (ECF No. 1);

 and

        WHEREAS, Defendant executed a waiver of service of summons on July 14, 2017,

 which Plaintiffs filed with the Court on July 20, 2017 (ECF No. 8); and

        WHEREAS, Defendant responded to the Complaint by filing a Motion to Dismiss on

 September 11, 2017 (ECF No. 16); and

        WHEREAS, Defendant’s Motion to Dismiss attaches 28 exhibits and Plaintiffs believe it

 raises multiple, complex issues of law and fact; and

        WHEREAS, pursuant to Local Rule 7.1(c), Plaintiff’s response to the Motion to Dismiss

 would be due on or before October 2, 2017, unless otherwise ordered by the Court; and

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        WHEREAS, Plaintiffs seek a 30-day extension of that deadline to allow adequate time to

 review the issues raised by the Motion to Dismiss and provide an appropriate response, in light

 of the scope of Defendant’s filing, the number and volume of exhibits, and the complexity of the

 issues raised; and



        WHEREAS, good cause exists for the requested extension of time to ensure that

 Plaintiffs provide the Court with a helpful response that will best assist the Court in deciding the

 Motion to Dismiss;

        THEREFORE, pursuant to LR 7.1(b), Plaintiffs and Defendant agree that

            Plaintiffs shall have until November 1, 2017 to file their response to the Motion to

            Dismiss.




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 Have seen and agreed,

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